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                                                                                                        06/22/2020

                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF VIRGINIA
                                       Charlottesville Division

   ELIZABETH SINES et al.,                             )
        Plaintiffs,                                    )        Civil Action No. 3:17-cv-00072
                                                       )
  v.                                                   )        ORDER
                                                       )
  JASON KESSLER et al.,                                )        By:     Joel C. Hoppe
       Defendants.                                     )                United States Magistrate Judge

          This matter is before the Court on a motion filed by John DiNucci, Esq., to withdraw as

  counsel of record for Defendant Richard Spencer. ECF No. 727. Mr. Spencer opposes the

  motion. ECF No. 756.1 The Court held telephonic hearings on May 29 and June 11, 2020, at

  which Mr. DiNucci and counsel for the Plaintiffs appeared. Mr. Spencer also appeared at the

  June 11 hearing. Mr. Spencer asked for one additional week to develop a payment plan for his

  attorney’s approval. On June 18, Mr. DiNucci informed the Court that he stands by his motion to

  withdraw as counsel. For the reasons explained on the record the June 11 hearing, the Court finds

  Mr. DiNucci has shown good cause to withdraw from representing Mr. Spencer in this matter.

  See W.D. Va. Gen. R. 6(i); Order of June 4, 2020, at 2–3 (citing Va. R. Prof’l Conduct 1.16(b)),

  ECF No. 754; Pls.’ Supp’l Resp. 2–4, ECF No. 772. Accordingly, Mr. DiNucci’s motion, ECF

  No. 727, is hereby GRANTED. The Clerk of Court is directed to terminate John DiNucci, Esq.,

  as counsel of record for Defendant Richard Spencer.

          Mr. Spencer’s motion to utilize the Court’s Case Management/Electronic Case Filing

  (“CM/ECF”) System, ECF No. 757, is GRANTED on the condition that he complies with the


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   On June 18, 2020, Mr. Spencer sent an email to the undersigned’s chambers email address regarding Mr.
  DiNucci’s motion to withdraw. The email references Mr. Spencer’s financial situation and, thus, should be treated
  confidentially. See Fed. R. Civ. P. 26(c). The Court, however, disapproves of Mr. Spencer emailing documents, such
  as a brief in opposition, that should be filed with the Clerk’s Office. Moreover, the Court will not allow ex parte
  communications absent a properly filed motion requesting such relief. Accordingly, under Local Rule 9, the Court
  will direct the Clerk’s Office to docket Mr. Spencer’s email under seal so that only case participants may view the
  email.

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  Court’s registration procedures. Mr. Spencer may file documents in this matter through CM/ECF

  while he is representing himself. Unless and until new counsel enters an appearance on Mr.

  Spencer’s behalf, he is solely responsible for conducting his defense in accordance with all rules,

  court orders, and deadlines in this case. If Mr. Spencer chooses to retain new counsel, the

  attorney must be admitted to practice in the United States District Court for the Western District

  of Virginia before he or she may enter a notice of appearance in this matter. W.D. Va. Gen. R.

  6(a)–(d), (i).

          Neither the trial date nor any deadline will be continued because of the granting of the

  motion to withdraw.

          It is so ORDERED.

          The Clerk of Court is directed to send a copy of this Order to the parties.

                                                        ENTER: June 22, 2020



                                                        Joel C. Hoppe
                                                        U.S. Magistrate Judge




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